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          Exhibit H
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                                                                                     (b )(7)( c)
From:                        Palmer, David
Sent:                        Thursday, December 17, 2015 10:15 AM
To:                                          Isacco, Michael; Puchalsky, Brian;\

                          --~----"'!"'"__,JJ.ermody, John; Hinds, Ian G; Doolin, Joel; Gentry,
                            Anthony E; Cox, John; Tonelli, Michelle P; Seguin, Debbie
Cc:                         Maher, Joseph; Meyer, Jonathan; Mathias, Susan
Subject:                    FW: Social Media Task Force

Importance:                  High

Colleagues:

As Joe Maher advised in the email below, the Department has convened a Social Media Vetting
Task Force, chaired by Undersecretary Taylor, to examine the Department's current and future
use of social media in the DHS vetting process for operational and intelligence purposes. We
will be faced with several tasks in connection with this task, many if not all of which will require
detailed knowledge about how our operational clients use social media in their vetting
processes. You have been named as your Office's POC on this matter.

We have an immediate assignment that requires your input. Undersecretary Taylor has asked
that we conduct a review of all legal authorities for operational and intelligence social media
use across DHS and within each component. Much of this information should already exist,
particularly if your client has filed a DHS Operational Use of Social Media Form with the Privacy
Office. We kindly need your response to this no later than Noon on Monday, December
21. There is unfortunately no flexibility in that deadline.


Please note that this assignment will likely require that you contact your operational
components and those colleagues in your offices who represent those components to identify
their specific statutory and regulatory authorities to carry out their mission. Please note that
this is NOT a Privacy Act analysis, but rather a discussion of our clients' authorities to carry out
their missions and how their using social media falls within those authorities.

Please direct any questions to m~...-----~r to Susan Mathial.._ _ _ _ _..re
look forward to working with all ol you.
                                                         (b)(6)
Best regards,

David

David J. Palmer
Associate General Counsel
Legal Counsel Division
Office of the General Counsel
Department of Homeland Security




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